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                  EXHIBIT 7
8/20/24, 3:18 PM      Case 3:24-cv-08015-JCS                  Document 1-7
                                                                    Gmail         FiledLetter
                                                                          - Re: Findings 11/15/24              Page 2 of 5


             Gmail                                                                                     Sam Kasle



  Re: Findings Letter
  1 message

  Sam Kasle                                                                                                       Thu, Mar 7, 2024 at 2:08 PM
  To: Charles Velschow
  Cc: andrea kasle

     Thanks Chuck. This appears to deal with the second complaint, what’s the timing on the first?


     Sam


             On Mar 7, 2024, at 1:00 PM, Charles Velschow                                     wrote:



             Sam and Andrea -

             Attached is the findings letter regarding your complaint against Greg
             Gruszynski, along with the BP/ARs 1312.1. A hard copy will be mailed to your
             home address today.

             This concludes the school's role in this complaint - any appeal process will go
             through the superintendent's office.
             --
                                   Chuck Velschow (him/he/el)
                                   Administrative Vice Principal
                                   (Last names 'A-L')
                                   (650) 367-9750 x40030



             <Regulation 1312.1 Complaints Concerning District Employees.pdf>
             <Findings Letter Kasle Complaint 3-7-24.pdf>




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                                                                                    BOARD OF TRUSTEES

Woodside High School                                                                Carrie Du Bois
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199 CHURCHILL AVENUE                                          (650) 367-9750        Shawneece Stevenson
WOODSIDE, CA 94062-1152
                                                                                    SUPERINTENDENT
Karen van Putten, Principal                                                         Crystal Leach

      March 5, 2024

      Delivered via Email
      Sam and Andrea Kasie



      Re: Investigation Findings

      Dear Mr. and Mrs. Kasie:

      Woodside High School ("School'') has completed its investigation into the Uniform Complaint
      Process written complaint that your family, ("Complainant") filed with Woodside High School
      on February 15. 2024 ('Complaint against faculty '). The Complaint brought concerns that a
     teacher, Greg Gruszynski ('"Respondent"), was biased and discriminatory in his teachings on the
      Middle East, specifically related to Israel and the current conflict between Israel and Barnas.
     Ultimately the lessons and instructional materials had a detrimental impact on your daughter,
     IIIIIIIKasle. in the classroom. Prior to the complaint filed on February 15th, Sam Kasie
     completed a 'Request for Reconsideration oflnstructional Materials' pertaining to the lessons
     and materials being used in Greg Gruszynski's class. The 'Findings' will address some of the
     concerns brought in the reconsideration of materials request, but not all of them. The entire
     Sequoia Union High School District has received a request for public records through a separate
     complaint. Teachers must provide all teaching materials to District counsel containing the terms
     "Zionism, Zionists, Israel, Israelis, Palestine, and/or Palestinians" that have been used in their
     classroom from September 1, 2023, to the present. That issue will be handled through the
     Superintendent's Office.

     The Complaint was investigated by Chuck Velschow, Administrative Vice-Principal, under
     District Board Policy (''BP") and Administrative Regulation (''AR') 1312.1 (Complaint of
     School Employee). Copies of BP/AR 1312.1 are enclosed for your reference.

     As part of the investigation, Mr. Velschow interviewed six student witnesses and one staff
     member. Further, corroborating evidence and, where necessary, witness credibility was also
     considered. Relevant evidence was evaluated under a preponderance of the evidence standard in
     order to determine whether, based on the totality of the evidence, there was sufficient evidence to
     sustain the allegations. ''Preponderance of the evidence" means that the evidence on one side
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outweighs, or is more than, the evidence on the other side. Following a thorough analysis of the
evidence, findings of fact and conclusions oflaw were made, as are set forth below.

Findings of Fact

At the conclusion of the investigation, the following factual findings were made:

Substantiated in Part

After the Israeli invasion of the Gaza Strip, Mr. Gruszynski's World History class discussed the
invasion as part of its current events component of the class (on or around October 31, 2023).
This discussion was largely dominated by a conversation between Mr. Gruszynski
("'Respondent") and-"'Complainant''). The conversation between Mr. Gruszynski a n d _
was very civil, but student witnesses reported that Mr. Gruszynski was "pro-Palestinian" and the
student "pro-Israel", and Mr. Gruszynski's position was further buttressed by a 'Free-Palestine'
bumper sticker on his wall, which student witnesses noticed or was possibly referenced by Mr.
Gruszynski. The full context of the bumper sticker was not explained by Mr. Gruszynski, it was
distributed at a fundraiser he had participated in for the organization called the Middle East
Children's Alliance (MECA). This discussion between teacher and student went on for
approximately 10 minutes, during the discussion. . challenged Mr. Gruszynski on many of
his assertions, for example (possibly in response to the number of Palestinian deaths being
reported), -stated, ''who attacked first?" Mr. Gruszynski reported that he allowed the
discussion to go on longer than normal because he wanted - t o provide her perspective. Mr.
Gruszynski was very impressed with ~and complimented her individually (not in front of the
class) for both her knowledge of the topic and her strong articulation.

After this initial current events conversation, the class continued with its unit on Latin America
and began a unit on the Middle East in mid-November. During the unit on the Middle East, Mr.
Gruszynski brought forth classroom materials that provided a historical perspective on the
Palestine-Israel Conflict, current topics related to the conflict in Gaza and its repercussions in the
US (ex: resignations of college presidents), and readings on violence against Jews and
Palestinians in the US, along with videos. Much of this material comes from the organization
' Democracy Now'; the ''Complainant" alleges this material and the organization are
"anti-Israel", Mr. Gruszynski stated they are a legitimate source because they do not allow any
corporate funding. Mr. Gruszynski stated that it is not the teacher's role to support a country's
foreign policy in any case. He further defined a teacher's obligation to present factual material,
even if that includes counter-narrative material.

During Mr. Gruszynskis's unit on the Middle East student witnesses reported thatlllllllwas
never discriminated against or called out in front of the class as being wrong. However, -
told a classmate that she did not want to attend class or deal with Mr. Gruszynski because the
classroom materials and topics related to Israel and Gaza were making her feel uncomfortable.
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     Mr.Gruszynski did not get this sense from- In a few instances during the unit on the
     Middle East -positively participated and always seemed comfortable to raise her hand and
    express an opinion. She brought up the issue that Israel was "not an apartheid state'', and
    challenged the definition of ·checkpoints' being presented in class. Mr. Gruszynski stated that he
    felt the relationship between him and-was a positive one. Near the end of the semester
    -asked Mr. Gruszynski ifhe was going to miss having her in class (she had found out her
    transfer to Sequoia had been approved), and he responded in the affirmative that he was
    disappointed she would no longer be a •Wildcat'. He did not get any sense that the-had felt
    "browbeaten". The initial concern by the --complainant" (specifically the father - Sam Kasie)
    was brought in an email the weekend of December 9th, 2023 to AVP Velschow. At that time the
    "Complainant" did not want Mr. Gruszynski to know his identity. Almost two weeks later the
    "Complainant" expressed a willingness to meet with Mr. Gruszynski, but the semester was
    nearly over, attempts for the two sides to meet in January disintegrated during email exchanges
    in which Mr. Gruszynski described the "'Complainant" as becoming increasingly hostile.

    Conclusion

    The Respondent's actions were addressed with the school administration in accordance with
    District policies and procedures. Due to the laws pertaining to personnel files, additional
    information cannot be shared.

    Parties should consider and accept the School's decision as final. However, you have the right
    to address the Superintendent or designee regarding the complaint. See the enclosed BP/AR
    for more information about this process.

    Sincerely,

/~
Chuck Velschow
Administrative Vice-Principal ('A-L')
~ol

~                       0030
